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     T.A.V., Petitioner  v.  The People of the State of Colorado, Respondent  In the Interest of M.A.V., Jr. Minor Child No. 24SC719Supreme Court of Colorado, En BancDecember 16, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 23CA1877
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    